       Case 1:23-cr-00392-JEB          Document 76        Filed 03/11/25      Page 1 of 26




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
                                    )
                  v.                )                 No. 23-cr-392 (JEB)
                                    )
CHRISTOPHER RODRIGUEZ               )
____________________________________)

                     DEFENDANT’S SENTENCING MEMORANDUM

       Grief, anger, and confusion…those were the feelings overwhelming Christopher

Rodriguez when he took the actions at issue in this case. These actions are completely at odds

with Mr. Rodriguez’s upbringing and lifelong character. They were the result of profound personal

loss and a sincere belief that the Chinese government was to blame for his loss. Mr. Rodriguez

now finds himself in the position of his former clients, accepting responsibility for his actions and

experiencing the criminal legal system from an unfamiliar position. Mr. Rodriguez respectfully

submits the following for the Court’s consideration in determining an appropriate sentence based

on the sentencing factors set forth in 18 U.S.C. § 3553(a). Mr. Rodriguez respectfully requests

that the Court impose a sentence of seven years incarceration.

                                   I. PROCEDURAL HISTORY

       On August 2, 2024, Mr. Christopher Rodriguez entered a plea of guilty pursuant to a Rule

11(c)(1)(C) plea to a three count Information charging him with damaging property occupied by a

foreign government, in violation of 18 U.S.C. § 970(a), malicious damage to federal property, in

violation of 18 U.S.C. § 844(g), and receipt and possession of an unregistered firearm (destructive

device), in violation of 26 U.S.C. §§ 5841, 5861(d), and 5871. See Superseding Information, ECF

No. 51. The Rule 11(c)(1)(C) plea agreement states that Mr. Rodriguez and the government agree
       Case 1:23-cr-00392-JEB          Document 76        Filed 03/11/25     Page 2 of 26




to a sentencing range of 7-10 years. He will appear before this Honorable Court for sentencing on

March 14, 2025.

                                      II. LEGAL STANDARD

       When imposing a sentence, the Court must consider several factors, including (1) the

United States Sentencing Guidelines; (2) the nature and circumstances of the offense; (3) the

history and characteristics of the defendant; (4) the need for the sentence imposed to reflect the

seriousness of the offense, promote respect for the law, provide just punishment, and afford

adequate deterrence to criminal conduct, along with the kinds of sentences available; and (5) the

need to avoid unwarranted disparities. See 18 U.S.C. § 3553(a); United States v. Booker, 543 U.S.

220, 259 (2005).

       Congress has further provided that:

       [t]he court, in determining whether to impose a sentence of imprisonment, and, if a
       term of imprisonment is to be imposed, in determining the length of the term, shall
       consider the factors set forth in Section 3553(a) to the extent that they are
       applicable, recognizing that imprisonment is not an appropriate means of
       promoting correction and rehabilitation.

See 18 U.S.C. § 3582 (emphasis added). With that limitation and considering all of the purposes

of sentencing, the Court must impose a sentence that is “sufficient, but not greater than necessary,

to comply with the purposes [of sentencing].” 18 U.S.C. § 3553(a) (emphasis added).

       When sentencing a defendant, the Court “may not presume that the Guidelines range is

reasonable.” Gall v. United States, 552 U.S. 38, 50 (2007). Rather, the Court must treat the

Guidelines “as one factor among several” that § 3553(a) requires the Court to consider.

Kimbrough v. United States, 552 U.S. 85, 90 (2007). Once the Court correctly calculates the

sentence that the Guidelines recommend, the Court must then “make an individualized

assessment,” considering the remaining factors set forth in § 3553(a). Gall, 552 U.S. at 50.



                                                 2
       Case 1:23-cr-00392-JEB           Document 76        Filed 03/11/25       Page 3 of 26




Because the Guidelines merely reflect a “wholesale” view “rough[ly] approximat[ing] . . .

sentences that might achieve § 3553(a)’s objectives,” Booker and § 3553(a) require the Court to

tailor an individualized sentence that actually does achieve § 3553(a)’s objectives in the case

before it. Rita v. United States, 551 U.S. 338, 348, 350 (2007). Consequently, this Court must

“filter the Guidelines’ general advice through § 3553(a)’s list of factors.” Id. at 358; see also Gall,

552 U.S. at 52 (“‘It has been uniform and constant in the federal judicial tradition for the sentencing

judge to consider every convicted person as an individual and every case as a unique study in the

human failings that sometimes mitigate, sometimes magnify, the crime and the punishment to

ensue.’” (quoting Koon v. United States, 518 U.S. 81, 113 (1996))).

                     III. OBJECTIONS TO THE PRESENTENCE REPORT 1

       Mr. Rodriguez objects to the inclusion of XL Specialty Insurance Company and/or the Miss

Mao sculpture as a victim of any of the offenses of conviction. First, 26 U.S.C. §§ 5841, 5861(d),

and 5871 are not offenses which carry mandatory restitution under § 3663A(a)(2) or discretionary

restitution under § 3663(a)(2). The government agrees with this conclusion. ECF No. 70 at 27.

Second, restitution is not appropriate under USSG 5E1.1, because restitution under the sentencing

guidelines is still limited to that which “otherwise meets the criteria for an order of restitution

under [§ 3663].” USSG 5E1.1(a)(2). XL Specialty Insurance Company is not a “victim” as

defined in § 3663(a)(2) as it was not directly and/or proximately harmed as a result of the

commission of any of the offenses contained in the superseding information to which Mr.

Rodriguez pled guilty and the plea agreement did not otherwise expand the restitution to cover all

relevant conduct.




1
 Mr. Rodriguez joins the government’s objection related to grouping under the Guidelines.
Under U.S.S.G. § 3D1.2(d), offenses covered by §§ 2B1.1 and 2K2.1 group.
                                                  3
       Case 1:23-cr-00392-JEB           Document 76        Filed 03/11/25       Page 4 of 26




       Restitution under the Sentencing Guidelines, like restitution under § 3663, is limited to

damages either caused as a result of the offense of conviction or that are “agreed to by the parties

in a plea agreement.” 18 U.S.C. § 3663(a)(1)(A); see also Hughey v. United States, 495 U.S. 411,

413 (1990) (“We hold that the language and structure of the Act make plain Congress’ intent to

authorize an award of restitution only for the loss caused by the specific conduct that is the basis

of the offense of conviction.”); United States v. Udo, 795 F.3d 24, 33 (D.D.C. 2015) (“[T]he

relevant statutes do not even contemplate—much less expressly allow—that a court may order a

defendant to pay restitution for offenses related to, but distinct from, the offenses of conviction.”);

United States v. Dorcely, 454 F.3d 366, 377 (D.C. Cir. 2006) (“We believe the reasoning of

Hughey applies with equal force to section 3663 and conclude that restitution under 18 U.S.C.

3663(a)(1) may be ordered only ‘for the loss caused by the specific conduct that is the basis of the

offense of conviction.’” (quoting Hughey)); United States v. Gordon, 480 F.3d 1205, 1211 (10th

Cir. 2007) (“The MVRA, which amended the VWPA in 1996, did not change the general rule that

restitution may only be ordered for losses caused by the offense of conviction.”); United States v.

Thomas, 862 F. Supp. 2d 19, 21 (D.D.C. 2012).

       The government argues that because the damage to the Miss Mao statute was included as

potentially relevant conduct and used to increase the sentencing Guidelines in the plea agreement,

the damage was a result of the offense of conviction, namely receipt and possession of an

unregistered firearm. However, restitution is limited to the actual offense of conviction and does

not extend to relevant conduct unless restitution is expressly written into a plea agreement. See

United States v. Silkowski, 32 F.3d 682, 689-90 (2d Cir. 1994) (“Where the issue is the amount of

loss to be repaid by a defendant under a restitution order, however, the scope of conduct that a

district court may consider in determining the amount of loss is governed by different



                                                  4
       Case 1:23-cr-00392-JEB           Document 76        Filed 03/11/25      Page 5 of 26




considerations than those set forth in the relevant conduct provision of the Guidelines. . . . At a

minimum, the district court could only order restitution for losses that [defendant] either expressly

agreed to or directly caused by the conduct composing the offense of conviction.”); United States

v. Benns, 740 F.3d 370, 378 (5th Cir. 2014) (“the district court erred by awarding restitution based

on relevant conduct that went beyond Benns’ offense of conviction. Moreover, an award of

restitution based on losses not resulting from the offense of conviction is an error that is clear and

obvious.”). The relevant conduct for calculating the Sentencing Guidelines is not the same conduct

the Court considers in determining if restitution is appropriate.

       Restitution for the Miss Mao statue is not warranted or proper. Mr. Rodriguez did not

plead guilty to, nor was he convicted of, harming, damaging, or destroying the Miss Mao sculpture

and none of the three counts to which he did plead guilty relate to an offense against the Miss Mao

sculpture, the property of its creators, or the pay-out by XL Specialty Insurance Company.

Furthermore, Defendant’s plea agreement does not include an agreement to any additional

restitution outside of that permitted by statute.

       Additionally, when determining whether to award restitution pursuant to § 3663, the Court

must consider “the financial resources of the defendant, the financial needs and earning ability of

the defendant and the defendant’s dependents, and such other factors as the court deems

appropriate.”   18 U.S.C. § 3663(a)(1)(B)(i)(II).       Because restitution under the Sentencing

Guidelines must meet the criteria of § 3663, the Court should also consider Mr. Rodriguez’s ability

to pay restitution here. Mr. Rodriguez is 45 years old. Even with the seven-year sentence

requested here, he will be in his 50s when he is released from incarceration. Upon his release, he

will have to find a new career path and new way to support himself, as he will not be able to return

to his life as an attorney. As the Court is well aware, individuals with felony criminal records face



                                                    5
       Case 1:23-cr-00392-JEB          Document 76        Filed 03/11/25      Page 6 of 26




countless collateral consequences, including extreme challenges in finding employment upon

release. Even when someone does succeed in finding employment, they are rebuilding their life

from scratch, saving enough money to afford housing and pay bills. Adding restitution on top of

those challenges creates unnecessarily harsh penalties in this case.

       Mr. Rodriguez does not have significant financial resources to pay restitution at this time

and he will face all of the challenges individuals with felony criminal convictions face upon

release. “When people are not able to immediately pay off their obligations, ‘poverty penalties,’

such as interest and collection costs, are imposed, further ballooning criminal debt. Restitution

orders have lasting consequences even for those who manage to find the money to pay off their

obligations, affecting their ability to build income, attain housing stability, and generally support

themselves and their families.” Lula Hagos, Debunking Criminal Restitution, 123 Mich. L Rev.

3, 476-77 (Dec. 2024); id. at 495-69 (“Restitution in criminal courts directly undermines the

necessary steps for defendants to successfully reenter society. Because the overwhelming majority

of those involved in the criminal system are indigent, the imposition of restitution shackles

defendants long after they serve their sentences.”). Mr. Rodriguez’s current and prospective

financial situation do not justify restitution in this case. That is especially true where the party

seeking restitution is an insurance company, not an actual victim. “Insurance companies . . .

receive ‘double compensation’ under the current scheme as they receive a payment from

defendants and premiums from their customers.” Id. at 511. The requested amount of restitution

is discussed below, but notably, the insurance company does not offset its request by any premiums

received from the customer, thus preventing the Court from even determining an appropriate

amount of restitution. Restitution is not warranted in this case and Mr. Rodriguez asks the Court

not to impose any amount of restitution.



                                                 6
       Case 1:23-cr-00392-JEB          Document 76        Filed 03/11/25     Page 7 of 26




       Even if the imposition of restitution was permitted and appropriate, which defendant

denies, the amount of the loss claimed is not. The statue’s insured value, Ex. 1, Commercial Fine

Art Declarations, as well as the settlement pay-out amount, Ex. 2, Adjuster’s Report, were not the

product of an arms-length appraisal of the sculpture’s value and/or the cost of repairing the

damages suffered on or about November 5 to 7, 2022. To the contrary, both were based upon a

self-serving agreement of the parties. Ex. 1, Commercial Fine Art Declarations; Ex. 2, Adjuster’s

Report. The artist and consignees sought to insure profits of an aspirational sale and the insurance

company, presumably, got to collect a higher premium. Ex. 6, Adjuster’s Initial Report at 7.

       On December 6, 2021, a consignment agreement was executed whereby the Gao Brothers

sought to exhibit and sell a steel sculpture titled Miss Mao Trying to Poise Herself at the Top of

Lenin’s Head. Ex. 3, Consignment Agreement. An aggressive $650,000.00 sales price was set by

the parties thereto, whereby the Gao Brothers would receive 50% (presumably including their

profit from the sale) and the consignees would split the remaining 50% in the event of a sale. Id.

at ¶ 2. Despite the ambitious sales price, or perhaps because of it, or perhaps because of the

presence of pre-existing damage, the market did not meet the selling price set by the parties.

Among the documented pre-existing damage, the statute evidenced “rusted interior supports (…)

caused by standing water.” Ex. 4, Condition Report Memo. A post-assembly external assessment,

conducted by Art Conservation Services, revealed “numerous ‘scuff marks’, scratches, surface

accretions of unknown substances, rust stains and one prominent area where apparent impact to

the surface gouged through the reflective metallic finish leaving the underlying metal exposed and

rusting.” Ex. 5, Art Conservation Services Assessment.

       Even when the adjuster’s initial report recognized that the steel inner support system of the

sculpture was in poor condition, prior to the incident, the adjustment proceeded under the incorrect



                                                 7
       Case 1:23-cr-00392-JEB          Document 76        Filed 03/11/25      Page 8 of 26




assumption that “the explosion knocked the upper sections of the piece out of alignment” and the

speculative belief that “it likely damaged the (already damaged) steel inner support system of the

sculpture.” Ex. 6, Adjuster’s Initial Report at 2. Pictures taken prior to the incident demonstrate

(1) that the middle structure of the sculpture was already misaligned, Ex. 5, Art Conservation

Services Assessment at 13, 14, 19 and 31, and (2) that pre-existing corrosion shavings had dropped

off some support beams in the interior support structure. Ex. 4, Condition Report Memo at 9. The

adjuster’s reliance on the post-assembly external assessment by Art Conservation Services, as the

basis to conclude that “the piece … was in very good overall condition,” is also misplaced. Art

Conservation Services’ report was limited to an external evaluation and, without the benefit of

having inspected the hollow interior, the drafters conceded that they “did not know precisely” how

the sculpture’s sections were connected.

       Furthermore, the adjuster’s reliance on the Gao Brothers’ self-serving claim that the

sculpture was a total loss should be similarly unpersuasive. Such a conclusion was based on the

unproven contentions that: (1) the sculpture was fabricated in a foundry in Beijing that was no

longer in business; (2) the creation was complex and required scaffolding due to it being

approximately 25’ tall; and (3) the full-scale fiberglass model was destroyed after the sculpture

was finished. The total loss determination belies the fact that post incident pictures of the statute

show damage akin to a traditional fender bender. Ex. 7, USAO_067094. Comparisons of before,

Ex. 8, Pictures Before, and after, Ex. 5, Art Conservation Services Assessment at 31, pictures do

not sustain a conclusion of $360,000.00 in damages. Surely the original artists, or even home-

grown metal sculptors, could have repaired the bottom sections for far less. The cost of using

scaffolding to maintain the sculpture was estimated at $1,000.00. Id. at 4. Nevertheless, no formal




                                                 8
       Case 1:23-cr-00392-JEB           Document 76         Filed 03/11/25       Page 9 of 26




appraisal of the sculpture or estimate of repairs was produced, despite a subpoena for the “entire

file” being served upon XL Specialty Insurance Company.

        There is no evidence of any attempt to offset the estimated damages or justification for a

“total loss” finding. For example, the pay-off amount does not contemplate or subtract the

sculpture’s resale value after repairs or as scrap metal. Furthermore, there is nothing unique

reported about the since-closed foundry where parts of the sculpture had originally been

manufactured. And preexisting damage to the piece from “water… able to penetrate the piece and

the inner support system” made any loss difficult to accurately calculate. Ex. 6, Adjuster’s Initial

Report at 5.    Therefore, the $360,000.00 pay-out does not reflect XL Specialty Insurance

Company’s actual loss.

        As indicated in the Presentence Investigation Report, “based upon defendant’s financial

profile, it does not appear he has the resources to pay a fine (or) any restitution (if) ordered in this

case.” ECF No. 61 ¶ 114. Imposing a discretionary fine or restitution upon the defendant will,

therefore, serve as a serious impediment to his eventual reintegration into and involvement in

society.

        In the alternative to all of the above, and in light of the fact that the economic circumstances

of the defendant do not allow for the payment of any amount of a restitution order and would not

allow for the payment of a restitution order in the foreseeable future, defendant prays that any

restitution be limited to nominal periodic payments under U.S.S.G. § 5E1,1 (f).

                                        IV. 3553(A) FACTORS

        Mr. Rodriguez fully accepts responsibility for the conduct in this case. As Bryan Stevenson

put it, “Each of us is more than the worst thing we’ve ever done.” Bryan Stevenson, Just Mercy:

A Story of Justice and Redemption (2014) at 17-18. Mr. Rodriguez is so much more than this



                                                   9
      Case 1:23-cr-00392-JEB           Document 76       Filed 03/11/25      Page 10 of 26




conviction, he is so much more than his criminal record, and he deserves an opportunity to prove

that to himself. A sentence of seven years would adequately account for the § 3553(a) factors.

A. History and Characteristics of Mr. Rodriguez.

       Christopher Rodriguez’s defining quality is that he is a true public servant. All of the jobs

that he has chosen in his life share a common thread—the mission has been to help others. His

desire to serve others has been evident since his first major life choice—his decision to enlist in

the Army upon graduating from college. Even within the Army, he focused on helping those in

need. After boot camp, he became a Mental Health Specialist, a position designed to help mental

health professionals administer care to soldiers. https://www.goarmy.com/careers-and-

jobs/science-medicine/physical-mental-health/68x-behavioral-health-specialist. In the Army, he

was deployed to Iraq. He and his battalion were central to the United States’ misguided searches

for individuals responsible for 9/11 and for Weapons of Mass Destruction. By the end of his

service, Mr. Rodriguez had worked as an investigator in Germany and then was detailed in the

Secretary of Defense’s security unit. While he learned much in his military service, Mr. Rodriguez

could not help but develop a sense of distrust upon the realization that his government had taken

advantage of him and his fellow soldiers.

       His experience in Iraq did significant damage to Mr. Rodriguez’s wide-eyed idealism. He

had been exceptionally motivated to do something meaningful after 9/11. With strong ties to New

York and coming from an exceptionally patriotic family, 9/11 felt personal to him. Mr. Rodriguez

felt compelled to act and did everything in his power to serve his country. In the end, he recognized

that the American people were limited, not in their willingness or in their capacity, but in their

knowledge and information. America was limited because, for whatever strategic reason, the

government had been withholding critical information from the people. He recognized that the



                                                 10
      Case 1:23-cr-00392-JEB          Document 76       Filed 03/11/25      Page 11 of 26




government had not been entirely honest with its citizens, and it turned him into a much more

critical and even skeptical thinker. But, most importantly, it never made him dangerous, violent

or harmful. Mr. Rodriguez, in all of his actions, took extreme care to make sure no one would be

harmed.

       To understand the Christopher Rodriguez that committed these serious crimes requires

understanding who he was before and after the pandemic. It is undeniable that Mr. Rodriguez was

an exceptionally interesting man when the pandemic struck.           A decorated veteran.     Law

enforcement Special Agent in the Army. Personal security for the Secretary of Defense Robert

Gates. Mental Health Specialist. Former Public Defender. Active Kiwanis Club contributor.

Through all of these roles, the constant is that he has been a man of action. After 9/11, while the

country mourned, Mr. Rodriguez acted, withdrawing his deferral and joining the Army. When he

went to law school and learned about the theories underlying the criminal justice system (that he

had been a part of as a criminal investigator), he became a public defender. Christopher Rodriguez

was never one to stand on the sidelines, or even to play a supporting role. But then COVID

happened. And then his dad died.

       At some point prior to COVID, Mr. Rodriguez grew very skeptical of both the Chinese

Communist Party and the U.S. government’s apparent lack of transparency about the threat posed

by the Chinese Communist Party. Looking back, he does not attribute it to a single moment or

experience, but his time in the military certainly exposed him to a growing weariness of China’s

international menace. His fly on the wall experience for the Secretary of Defense certainly had an

impact. By the time he left the military, Mr. Rodriguez became determined to educate himself

about the spreading Chinese influence in the United States.




                                                11
      Case 1:23-cr-00392-JEB          Document 76       Filed 03/11/25      Page 12 of 26




       When COVID happened, everything seemed to come to a head. That the initial infections

came from Wuhan, China, led to the now accepted theory that the virus had been created at the

Wuhan Institute of Virology and had leaked, either intentionally or unintentionally.

Misinformation from China and an initial worldwide lack of transparency fed people’s fears. Mr.

Rodriguez’s general distrust of government entities and his antipathy towards the Chinese

Communist Party fueled his suspicions.

       About a year into the pandemic, but only a few months after vaccines first became

available, Mr. Rodriguez’s father died of a heart attack. Mr. Rodriguez and his father were

extremely close. To this day, his eyes well at the mention of his dad.

       Mr. Rodriguez was not in Puerto Rico when his father suffered the heart attack and he was

deprived of the opportunity to say goodbye. His father’s death was sudden and shocking and like

so many deaths during the pandemic, closure was very difficult to accomplish. Plus, he was

convinced that the heart attack was caused by the vaccine his father had just received. The next

couple of months were marred by anger, grief and frustration. As he mourned, he thought of what

he could do to address the injustice done to his father—an injustice that was resulting in millions

of deaths across the world. And while the international community was focusing on vaccines or

treatments or masks or distancing, no one seemed to care that the pandemic was further evidence

of the nefarious power and influence of the Chinese Communist Party.

       Then, the devastation hit home. When Mr. Rodriguez returned to Florida, after his father’s

funeral, he was unmoored. He quit his public defender job, packed his car with all of his

belongings and drove, without telling anyone where he was going. He had national parks in mind

but no specific destination. He went west.




                                                12
       Case 1:23-cr-00392-JEB            Document 76     Filed 03/11/25      Page 13 of 26




       Although he was licensed to carry the firearm he had with him (along with all of his other

belongings), he was not specifically licensed in California. He also had with him exploding targets

and numerous household items that people do not normally drive with, unless they are, literally,

travelling with all of their belongings.

       After his arrest, Mr. Rodriguez began to emotionally rebound. He found a job at a private

criminal defense firm and began to refocus on helping people at work. Still, he struggled with his

grief and the loss of his father. He directed his energy towards publicizing the lesser-known truths

about the Chinese Communist Party and he pursued different media strategies to gain widespread

engagement. He started collecting and developing content. He became obsessed with his project

and would sleep less and less as he became more and more determined to find answers to address

his grief and pain.

       It is important to recognize that throughout all this, Mr. Rodriguez may have lost

perspective, but he never lost his sense of morality. He has always taken great care to make sure

that no one would be injured by his actions. That is why his actions, however objectively reckless,

were done in the dead of night. And it is why he made sure that the area was deserted. That is

why, in the District, when he realized that he could not see oncoming traffic, he repositioned the

firing nest and moved the target to make sure that he would not accidentally shoot or harm an

innocent passerby. It is why he abandoned his effort when he did not feel he could be 100% certain

that he could execute his plan safely.

       Mr. Rodriguez feels strongly that the Chinese Communist Party poses enormous danger to

the world and still believes that the world is woefully uninformed about the threat it poses. With

his actions, he wished to bring attention to the Chinese Communist Party’s lurking danger.

Nevertheless, he now understands and acknowledges that his methods were unreasonable and



                                                13
      Case 1:23-cr-00392-JEB          Document 76       Filed 03/11/25     Page 14 of 26




outside the boundaries of the law. He should have known better, and he is sorry. But he knew

that his actions would not hurt anyone.

       Mr. Rodriguez’s time in detention has allowed him to refocus on the most important of his

priorities—his family. See Ex. 9, Letters in Support; Ex. 10, DOC Certificates; Ex. 11, Free Minds

Letter and Poems. He is extremely grateful for the support his family has provided him and has

especially realized that his actions foolishly and selfishly came at the expense of the emotional

well-being of his mother. He worries every day that he will not be present to help his mother if

she becomes sick, falls down or otherwise needs his help. He is the son that she depends on and

his actions have caused her inordinate grief.

B. The Nature and Circumstances of the Offense.

       Mr. Rodriguez recognizes the seriousness of his conduct and accepts full responsibility for

his actions. The decisions he made in November 2022 and September 2023 were completely at

odds with his character and the life he lived and built prior to his father’s death in 2020. While

the grief that Mr. Rodriguez was experiencing in no way excuses his conduct, and Mr. Rodriguez

would never attempt to argue that it does, it does provide some explanation and context for why

he veered so far off course.

       As Ms. Smyth described, Mr. Rodriguez was likely suffering from Prolonged Grief

Disorder. Ex. 12, Smyth Report at 12-13. He was struggling with insomnia and became obsessed

with his fear of Chinese influence on America. Id. at 12. He found likeminded people online and

spent hours watching videos that only increased his concern and caused him to believe that he

needed to do something to raise awareness. He needed to shine a light on the Chinese influence

that he believed to be harmful to the United States, harmful to the country that he fought for and

loves. “The combination of prolonged grief and evidence of hypomania causing sleeplessness,



                                                14
      Case 1:23-cr-00392-JEB          Document 76       Filed 03/11/25      Page 15 of 26




coupled with his preexisting concerns over the Chinese Communist Party were a breeding ground

for deep seeded fear and disdain that Chris delved deeper into each day. He explained, ‘I felt that

so much about what we were told in life was a lie, and I wanted to pull back the curtain.’ He went

on to say, ‘I felt that some level of justice in acknowledging this reality was warranted.’” Id. at

14.

       Mr. Rodriguez’s choice of protest venues signified the influence against which he was

protesting. “At no point in Chris’ plan to demonstrate against the Chinese Communist Party’s

influence in America, did he ever plan to physically harm anybody.           On the contrary, he

intentionally timed his actions to ensure that no person would be harmed. While this in no way

excuses his actions and is not meant to justify how he attempted to raise awareness of Chinese

Communist Party’s illicit influence in America, it is critical to note that no person was harmed,

and that no person was ever intended to be harmed. Of his choice to use Tannerite, Chris

explained, ‘it is very loud and can cause damage when used in certain ways, but my intention was

for demonstration, not destruction.’” Id.

       Mr. Rodriguez’s understanding of Tannerite is confirmed by former ATF Explosives

Enforcement Officer (1989-2013) and current defense contractor Senior Engineer (2013-Present)

David Shatzer’s report. Mr. Shatzer concluded, after conducting test explosions, that the mixture

present on September 25, 2023, would not have caused damage to the embassy wall. Ex. 13,

Shatzer Report at 4. Mr. Shatzer explains in detail why the government’s expert report does not

accurately describe the damage that could have occurred.

       First, the government expert did not actually test the mixture to determine the actual ratio

of ammonium nitrate (AN) to aluminum (Al), which is essential in understanding the destructive

capabilities of the mixture.   A mixture with a higher percentage of aluminum has greater



                                                15
      Case 1:23-cr-00392-JEB           Document 76        Filed 03/11/25      Page 16 of 26




destructive capabilities. Instead of actually calculating the makeup of the substance present on

September 25, 2023, the government expert assumed a TNT equivalence of 1 and proceeded to

describe the destructive capabilities of TNT. Not only is that assumption simply a guess, but it is

also very likely an incorrect guess. Commercially available Tannerite mixtures typically have 98

percent ammonium nitrate and 2 percent aluminum, whereas TNT equivalent mixtures are closer

to 80 percent ammonium nitrate and 20 percent aluminum. Id. at 4.

       Mr. Shatzer’s report also refutes the government expert’s opinion that fragmentation would

occur and cause serious and significant damage. As Mr. Rodriguez was aware, because of his

military experience, Tannerite is a substance that is often used in firing ranges to allow individuals

shooting targets from a distance to see if they hit their desired target. As it is designed to confirm

from afar that a target was hit, not to destroy, Tannerite powder expands, creating a large and

visible-from-afar poof of powder particles and noise, when struck by a projectile from a rifle. It is

the act of containing Tannerite within a solid metal object (like a shell), potentially with shrapnel

(like BB’s) or with items that can act as shrapnel (any metal that can fragment), that causes

damage. The cloth backpack used by Mr. Rodriguez on September 25, 2023, was not the type of

container that would create damaging shrapnel or result in a damaging explosion. Nothing was

found inside the unexploded backpack that was designed to act as shrapnel. As Mr. Shatzer

explains, there are no items to fragment and cause the damage described in the ATF report. The

ATF assumption of fragmentation was not based on the actual circumstances present on September

25, 2023.

       Mr. Rodriguez does not raise the issue of intended damage in an attempt to excuse or

minimize his conduct. He recognizes that there is inherent danger in firing a gun in a city,

notwithstanding his safeguards, and he accepts full responsibility. “He is clearly remorseful and



                                                 16
      Case 1:23-cr-00392-JEB           Document 76        Filed 03/11/25      Page 17 of 26




has a great deal of insight into himself and into what led to his commission of the crimes for which

he has pleaded guilty. He explained, ‘At that time I was obsessed with what I felt was justice. But

now I look at it and see that I had a childish plan with adult resources.’” Ex. 12, Smyth Report at

14.

       Mr. Rodriguez has destroyed his life because of the choices he made in 2022 and 2023. He

has caused his family extreme pain and may never see his mother alive again, except at BOP

visitation. “Today, Chris is quiet, humble, and contrite. He has taken time to work through his

unresolved grief and he has accepted his father’s death and that his father died of a heart attack.”

Id. at 15. “When asked about deterrence for future crimes, Chris tearfully stated, ‘There is nothing

I can do to bring my father back. I was so focused on my dad and his death that I forgot about the

rest of my family and how my actions would impact them.’” Id.

C. The Purposes of Sentencing and the Kinds of Sentences Available.

       The “Court’s overarching duty” is to “‘impose a sentence sufficient, but not greater than

necessary,’” Pepper, 562 U.S. at 493 (quoting 18 U.S.C. § 3553(a)), to comply with “the four

identified purposes of sentencing: just punishment, deterrence, protection of the public, and

rehabilitation,” Dean v. United States, 137 S. Ct. 1170, 1175 (2017); see also 18 U.S.C.

§ 3553(a)(2). Given Mr. Rodriguez’s history and characteristics, a 7-year prison term is a just

punishment and is sufficient for individual deterrence, to protect the public, and for rehabilitation.

       A 7-year sentence will not create unwarranted sentencing disparities. Mr. Rodriguez’s case

is similar to other cases involving protest through means of actual or attempted destruction. In

United States v. Tankersley, 537 F.3d 1100 (9th Cir. 2008), the Ninth Circuit affirmed a 41-month

sentence for an individual who participated in a five-year conspiracy to commit arson and other

crimes against government and private entities. Tankersley herself “participated in both an

attempted and a subsequently completed arson that destroyed the headquarters building of U.S.
                                                 17
      Case 1:23-cr-00392-JEB          Document 76        Filed 03/11/25      Page 18 of 26




Forest Industries, Inc., a private timber company located in Medford, Oregon.” Id. at 1102.

       Recent cases in this District demonstrate that even the seven-year sentence would be

relatively harsh. In United States v. Jerritt Pace, 20-cr-104 (RC), the defendant created an

improvised destructive device (a container filled with gasoline) and set fire to it on the sidewalk

in front of a Metropolitan Police Department police station. As in this case, it was in the early

morning hours and, as in this case, it was in protest (though there it was in protest of the George

Floyd murder). Mr. Pace was sentenced to 36 months of incarceration despite having accrued 13

criminal history points.

       In fact, in somewhat similar cases across the country, individuals have been spared prison

time. For example, in United States v. Guthrie, the district court sentenced Guthrie to time served

(approximately one month) for assisting in the arson of a police car and the vandalizing of other

property during George Floyd protests on May 30, 2020. Ex. 72, No. 20-cr-541 (D.S.C. Apr. 8,

2021), ECF No. 31. Likewise, in United States v. Bartels, the district court sentenced Bartels to

one day in custody and six months in a half-way house for damaging a police car, encouraging

others to burn it, and (per the U.S. Attorney) “incit[ing] the largest and most destructive riot in

Pittsburgh history since 1968.”8 No. 20-cr-116 (W.D. Pa. Jan. 7, 2021), ECF Nos. 55, 61. In United

States v. Fagundo, the district court sentenced Fagundo to three years’ probation for setting fire to

a police SUV while protesting George Floyd’s murder. Ex. 73, No. 21-cr-195 (N.D. Ill. July 14,

2021), ECF Nos. 20 & 23; see also United States v. Sanchez-Santa, No. 20-cr-480 (VSB)

(S.D.N.Y. Feb. 1, 2021), ECF Nos. 1 8, 13 (approving deferred prosecution agreement of 18 U.S.C.

§ 844(f) arson charge where defendant, in early June 2020, attempted to burn NYPD vehicle with

burning cloth).

       By contrast, cases where district courts sentenced a defendant prison time involved conduct



                                                 18
      Case 1:23-cr-00392-JEB          Document 76        Filed 03/11/25      Page 19 of 26




far more egregious than in this case, such as the burning of multiple police cars or government

buildings, and/or the defendant had a substantial criminal history. See, e.g., United States v.

Robinson, No. 20-cr-181 (PJS) (D. Minn.), ECF Nos. 92, 108, 109, 120 (defendants succeeded in

burning down a police station, causing $12 million in loss, and all four defendants had prior

criminal convictions). The defendants in that case received sentences of 36 months, 41 months

and 48 months of incarceration. See also United States v. David-Pitts, No. 20-cr-143 (JCC) (W.D.

Wash.), ECF No. 37 (defendant traveled from Alaska to Seattle and then attempted to burn down

a police station and trap police officers inside while it burned); United States v. Jackson, No. 20-

cr-148 (JLR) (W.D. Wash. Mar. 23, 2021), ECF No. 50, at 5 (defendant with three prior

convictions and three pending burglary cases planned his actions “a full day in advance” and

threw Molotov cocktails at two police cars); United States v. Trapp, No. 20-CR-308 (WFK)

(E.D.N.Y. Oct. 5, 2022), ECF No. 60 (defendant sentenced to 18 months for cutting brake line of

NYPD van and committing wire fraud related to COVID relief funds); United States v. Drechsler,

No. 21-cr-6064 (DGL), (W.D.N.Y. Aug. 9, 2021), ECF Nos. 26, 39 (sentence of a year and a day

where Drechsler burned two government cars and participated in the looting of stores and other

property on May 30, 2020). Because Mr. Rodriguez is clearly not similarly situated to the

defendants in these cases, the sentences in these cases, together with those cited above, further

support a seven-year sentence. See Dorvee, 616 F.3d at 187 (citing Gall, 552 U.S. at 55).

       In this courthouse, Ashton Nesmith was sentenced to 71 months for throwing a lit Molotov

cocktail at an occupied police car. That sentence, still well under the range here, was more severe

because the defendant violated his conditions of release, failed to appear to court and became a

loss of contact. United States v. Nesmith¸20-cr-156 (TNM). And even the government’s examples

support the 7-year sentence requested here.



                                                19
      Case 1:23-cr-00392-JEB          Document 76         Filed 03/11/25    Page 20 of 26




       The government’s reliance on United States v. Rathbun is unpersuasive. Unlike Mr.

Rodriguez, who fully accepted responsibility for his conduct here, Mr. Rathbun went to trial and

was convicted by a jury. Mr. Rathbun had thirteen prior convictions, see United States v. Rathbun,

No. 3:20-cr-30018, Gov’t Sent Memo, ECF No. 359 at 8 (D. Mass), and was found to have lied

during his testimony at his two trials. A sentence double the length of Mr. Rathbun would create

unwarranted sentencing disparities here. Mr. Rodriguez’s acceptance and the 2 additional years

support a finding that a 7-year sentence would not create unwarranted sentencing disparities.

       Similarly, Reznicek does little to advance the government’s position. First, Ms. Reznicek’s

statements made clear that she committed her offense to influence government conduct. As

discussed above, Mr. Rodriguez did not have those same motivations. Second, Ms. Reznicek’s

actions caused millions of dollars’ worth of damage, an amount in no way comparable to this case.

Finally, in affirming the 96-month sentence (24 months lower than the sentence requested by the

government here), the Circuit stressed the district court’s findings that Ms. Reznicek encouraged

others to imitate her actions and that the vandalism “caused a grave risk to others.” United States

v. Reznicek, No. 21-2548, 2022 WL 1939865, *2 (8th Cir. June 6, 2022). Mr. Rodriguez in no way

encouraged other individuals to commit any other crime but rather acted to spread awareness to an

underinformed public. Moreover, Mr. Rodriguez acted completely alone, and he was meticulous

in ensuring that no one would be harmed by his actions.

                      V. GOVERNMENT’S PROPOSED DEPARTURES

       The government argues for four upward departures in the Guidelines in an attempt to justify

its request for a 10-year sentence. These requests are arbitrary – a fact made even more clear by




                                                20
      Case 1:23-cr-00392-JEB          Document 76       Filed 03/11/25      Page 21 of 26




the haphazard and capricious adjustments made to the government’s arguments over the weekend.

Nevertheless, none of the departures are appropriate and the Court should decline to apply them.

A. USSG § 3A1.4 – Terrorism

       The government argues for an arbitrary four-level upward departure based on 3A1.4,

Application Note 4, which states that a departure would be appropriate in cases that do not involve

one of the underlying offenses that justify the terrorism adjustment under the Guidelines if “the

offense was calculated to influence or affect the conduct of government by intimidation or

coercion, or to retaliate against government conduct.” USSG § 3A1.4, Application Note 4. Mr.

Rodriguez’s actions in this case were a form of protest designed to raise awareness, not intended

to influence any government or retaliation against government conduct. Therefore, a departure is

not appropriate.

       Given the grief, anguish, and confusion overwhelming Mr. Rodriguez at the time of these

offenses, an upward departure is not warranted here. As Ms. Smyth’s report explains, Mr.

Rodriguez was dealing with Prolonged Grief Disorder. He was “‘stuck’ in the cycle of grief.” Ex.

12, Smyth Report at 3. “It was in this bereaved and hypomanic mental state, Chris felt compelled

to make a statement to the American people about the dangers of the Chinese Communist Party.

He wanted to raise public awareness to the ways that Chinese influence were infiltrating America

– including in the form of spies and secret police stations.” Id. Mr. Rodriguez’s form of protest

might not have been logical, and he admits it was unlawful, but that is what these actions were.

They were protests.

       The government points to videos and articles about China that Mr. Rodriguez was watching

and reading online. The defense agrees that he was obsessed with his fears and concerns about

Chinese Communist Party influence in the United States. In multiple parts of his life, Mr.



                                                21
       Case 1:23-cr-00392-JEB           Document 76      Filed 03/11/25      Page 22 of 26




Rodriguez experienced what he believed to be undue Chinese Communist Party influence or

hardship due to actions he perceived to come therefrom. Like many people who become fixated

on an issue, he sought out similar voices online. That does not change the ultimate purpose of his

actions and the motivations behind them. At no point did Mr. Rodriguez intend to influence either

U.S. or Chinese government conduct by his actions, and he was also not retaliating against specific

actions. He wanted to raise awareness. He wanted to bring people’s eyes towards the presence of

Chinese Communist Party spies in the United States and raise awareness about what he believed

to be a significant national security threat.

        As the government itself acknowledges, prior to sentencing, Mr. Rodriguez’s motivations

or intentions are not known to the government. Mr. Rodriguez has previously offered to debrief

with the government to explain what he had been going through at the time of his actions. The

government declined but now complains that it did not know what he was up to. Instead, they

replace specific evidence of intent with concern, worry and innuendo. But in other cases where

the departure is applied, specific evidence of intent is present. See, e.g., United States v. Wright,

747 F.3d 399, 409-410 (6th Cir. 2014) (listing all of the specific statements from three defendants

identifying they believed their actions amounted to a terrorist attack and that they intended to

influence government or provoke a government response). Even if the government’s theory that

Mr. Rodriguez’s fixation rose to “obsession,” obsession does not warrant a terrorism departure.

Mr. Rodriguez would agree that he spent much of his time thinking about his father, about the

pandemic, and about his concerns with the Chinese Communist Party – but his solution was to

promote awareness among others, not act to influence or retaliate against government action. No

departure is warranted under 3A1.4.




                                                 22
       Case 1:23-cr-00392-JEB           Document 76         Filed 03/11/25       Page 23 of 26




B. USSG § 4A1.3 – Inadequacy of Criminal History Category

        An upward departure from Criminal History Category I to Criminal History Category II is

not warranted here. First, the Sentencing Guidelines permit upward departures “if reliable

information indicates that the defendant’s criminal history category substantially under-represents

the seriousness of the defendant’s criminal history or the likelihood that the defendant will commit

other crimes.” USSG § 4A1.3(a)(1) (emphasis added). The government’s entire argument here

seems to be that in Mr. Rodriguez’s one prior conviction, these AUSAs would have charged

additional offenses and believe that Mr. Rodriguez received too lenient a sentence, thus believing

that a single additional criminal history point is warranted. First, there is no factual basis to support

the government’s speculative claim. Alternatively, a single point difference does not qualify as

“substantially underrepresents.”

        Additionally, the guidelines provide specific criteria that might form the basis for an

upward departure and none of those criteria are present here. The government asks the Court to

substitute its judgment for the judgment of the Los Angeles judge that sentenced Mr. Rodriguez

in 2021. The government asks the Court to do so even though the Court and the parties do not

have direct factual knowledge of the case in order to make appropriate arguments (for example,

that the gun was legally registered in Florida). That is not the purpose of this departure. None of

the factors in § 4A1.3(a)(2) or examples in Application Note 2 involve increasing the criminal

history category based on disagreements about the length of prior sentences. And the government

provides no cases or citations to justify a departure on that basis.

        Instead, the government cherry-picks quotations from out-of-circuit cases without

providing any of the factual context to argue that one prior act of similar criminal activity is an

acceptable basis for departure. The government cites to United States v. Menn, 58 F.3d 635, *1



                                                   23
      Case 1:23-cr-00392-JEB           Document 76        Filed 03/11/25      Page 24 of 26




(5th Cir. 1995) for the proposition that “repeated acts of similar criminal activity are an acceptable

basis for departure.” (emphasis added). Importantly, in Menn, the defendant was already in

criminal history category IV, and the presentence report “detailed extensive criminal history for

which there was no assessment of any criminal history points.” Brief for the United States, United

States v. Menn, 1995 WL 17117056, *21 (Feb. 23, 1995) (emphasis added). It was that extensive,

unscored criminal history that caused the court to find the CHC “substantially underrepresented”

the seriousness of the offense or likelihood of reoffending. The court specifically held that “Menn

had ‘no remorse’ about the crimes he committed, that he did not appear that there was ‘any

likelihood of [Menn] stopping the kind of con-artistry that [he is] capable of,’ and that there was

‘absolutely nothing to show any likelihood that [Menn was] going to stop [his] activities.’” Menn,

58 F.3d 635, *2. Menn has no similarities to the case before the Court today. One prior conviction,

which does score a criminal history point, is not sufficient to justify a departure here.

       Finally, the government takes issue with the charging decisions in California, arguing that

because the government there chose to allow Mr. Rodriguez to enter a guilty plea to a misdemeanor

and he was not charged with a federal offense for possessing mixed Tannerite, the Court should

assess an additional point as if Mr. Rodriguez had been convicted of that offense. It is far from

clear that such a charge could survive a legal challenge for a product sold at Home Depot or Bass

Pro Shops. Moreover, Mr. Rodriguez was charged and convicted for his conduct in June 2021.

The fact that the conviction was not for the offense the government would have preferred does not

eliminate the conviction itself.    This Court should not substitute its judgment or this U.S.

Attorney’s Office’s judgment for the judgment of the charging office in Los Angeles.

C. USSG § 5K2.5 Property damage or loss and USSG § 5K2.6 Weapons and Dangerous
   Instrumentalities

       The application of § 5K departures, outside of cooperation, is extremely rare in federal


                                                 24
      Case 1:23-cr-00392-JEB          Document 76        Filed 03/11/25      Page 25 of 26




sentencing. This case does not present one of the rare instances where the Guidelines fail to take

into account conduct that would warrant application of an upward departure.

       First, the government wants to have its cake and eat it too, arguing both that the four level

enhancement for dangerous weapon under the guidelines for Count Three only applies because of

the placement by the Miss Mao statue and the intent to cause damage and that the Guidelines do

not account for the damage. The Guidelines account for Mr. Rodriguez’s actions and no upward

departure is warranted.

       Second, the weapons and dangerous instrumentalities enhancement does not apply as they

would amount to double counting. All three of Mr. Rodriguez’s charges specifically involve the

possession of a weapon or dangerous instrumentality. As to Count One, under the Probation

Office’s calculation of the Guidelines, Mr. Rodriguez receives an eight-level increase for

possession of a dangerous weapon. Count Two requires the use of explosive materials, thus the

Guideline for 18 USC § 844(f) accounts for the existence of a weapon or dangerous

instrumentality. The same is true of Count Three, which is specifically a weapons charge, and the

Guidelines add two additional levels for also possessing a destructive device. The Guidelines for

each count adequately address the existence of weapons or dangerous instrumentalities. The

government provides no justification for an additional three-level upward departure. 2

       The government appears to be focused on the fact that a weapon was discharged, but every

discharge of a weapon does not automatically justify the application of § 5K2.6. Unlike the

government’s example (as well as other examples located by defense counsel) no children, or even



2
 Like the other departures requested by the government, they select an arbitrary number of levels,
providing no explanation, justification, or support for the selected number. Instead, it is clear the
government was involved in an outcome-oriented exercise. The government wanted the resulting
Guidelines range to include its requested sentence. Selecting a range of 108-135 months, the
government apparently worked backwards to determine the necessary levels of upward departure.
                                                 25
      Case 1:23-cr-00392-JEB         Document 76        Filed 03/11/25     Page 26 of 26




people were present and there was relatively little potential for harm to others. Mr. Rodriguez

specifically chose times where it was unlikely that any person would be around. In both instances,

he watched, waited and did everything he could to make sure no one would be harmed. In D.C.,

he even moved both the backpack and himself to ensure he had a clear view of any person or car

approaching before he attempted to fire the weapon. His goal was protest, a loud bang. His

intention was not to harm – and in fact, was to do everything he could to not harm.

                                    VI.     CONCLUSION

       For the foregoing reasons, and such other reasons as may be presented at the sentencing

hearing, Mr. Rodriguez respectfully requests that the Court impose a sentence of 7 years’

incarceration.

                                             Respectfully submitted,

                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                             /s/ Eugene Ohm
                                             Eugene Ohm
                                             Diane Shrewsbury
                                             Assistant Federal Public Defenders
                                             625 Indiana Avenue, N.W., Suite 550
                                             Washington, D.C. 20004

                                             DAVID RODRIGUEZ ENCARNACION
                                             100 Calle del Muelle
                                             Apartment 1208
                                             San Juan, PR 00901
                                             (787) 775-5759




                                               26
